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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
JOHN J. THORNTON,
Plaintiff,
Vv. - CASENo. 8:06-CV--1640T-27TGW
J. JARGON CO.,
Defendant.
ORDER

THIS CAUSE came on for consideration upon Plaintiff’s
Motion to Compel Interrogatory Answers and Document Production (Doc.
40). The motion fails to comply with Local Rule 3.04(a), which states:

A motion to compel discovery pursuant to Rule 36
or Rule 37, Fed. R. Civ. P., shall include
quotation in full of each interrogatory...or request
for production to which the motion is addressed,
each of which shall be followed immediately by
quotation in full of the objection and grounds
therefor as stated by the opposing party, or the
answer or response which is asserted to be
insufficient, immediately followed by a statement
of the reason the motion should be granted.
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In this motion, the plaintiff incorrectly places its reasons why
the discovery requests should be granted in a legal memorandum separate
from each request and objection.

It is, therefore, upon consideration

ORDERED:

That Plaintiff’s Motion to Compel Interrogatory Answers and
Document Production (Doc. 40) be, and the same is hereby, DENIED
without prejudice.

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DONE and ORDERED at Tampa, Florida, this Tt “day of

we , 2007. 3 Q ae

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

 
